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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:
                                                                Chapter 7
     MAD CATZ, INC.,
                                                                Case No. 17-10679 (LSS)
                                         Debtor.
                                                                Re: Dkt. No. 280


    ORDER GRANTING CHAPTER 7 TRUSTEE’S SECOND OMNIBUS OBJECTION TO
    CLAIMS PURSUANT TO 11 U.S.C. §§ 502(b) AND 726 AND FED. R. BANKR. P. 3001,
                   3002 AND 3007 AND LOCAL RULE 3007-1
             [RECLASSIFY, LATE FILED, AND NO BACKUP CLAIMS]

           Upon the Chapter 7 Trustee’s Second Omnibus Objection to Claims Pursuant to 11 U.S.C.

§§ 502(b) and 726 and Fed. R. Bankr. P. 3001, 3002, and 3007 and Local Rule 3007-1 [Reclassify,

Late Filed and No Backup Claims] (the “Objection”)1 seeking entry of an order reclassifying,

subordinating or reducing the Disputed Claims listed on Exhibits A, B & C attached hereto

(collectively, the “Disputed Claims”) on the grounds set forth in the Objection and in the attached

exhibits; and the Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §

157 and 1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2); and the Court having found that venue of this case and the Objection in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the Trustee

provided appropriate notice of the Objection and the opportunity to heard on the Objection; and the

Court having considered the Objection and any responses thereto; and after due deliberation thereon;

and good and sufficient cause appearing therefor,

           IT IS HEREBY ORDERED THAT:

           1.       The Objection is sustained as set forth herein.


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    Capitalized terms not otherwise defined in this Order shall have the meanings ascribed to such terms in the Objection.
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        2.     The Reclassify Claims set forth on the attached Exhibit A are hereby reclassified as

set forth on Exhibit A.

        3.     The Late Filed Claims set forth on the attached Exhibit B are hereby subordinated

to all timely filed general unsecured claims, consistent with section 726(a)(3) of the Bankruptcy

Code.

        4.     The No Backup Claim set forth on the attached Exhibit C is hereby reduced as set

forth on Exhibit C.

        5.     This Order is without prejudice to the Trustee’s, or any other party in interest’s, right

to object to any other claims filed against the Debtor.

        6.     Consistent with Bankruptcy Rule 3007(f), this Order shall be deemed a separate

Order with respect to each of the Disputed Claims identified on Exhibits A, B & C attached hereto.

Any stay of this Order pending appeal by any Alleged Claimant whose Disputed Claim(s) are subject

to this Order shall only apply to the contested matter which involves such Alleged Claimant and

shall not act to stay the applicability and/or finality of this Order with respect to the other contested

matters listed in the Objection or this Order.

        7.     This Court shall retain jurisdiction over the Trustee and the Alleged Claimants whose

Disputed Claims are subject to the Objection with respect to any matters related to or arising from

the Objection or the implementation of this Order.




        Dated: October 28th, 2021                       LAURIE SELBER SILVERSTEIN
        Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE
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